        Case 1:25-cv-00325-JMC           Document 14         Filed 02/07/25      Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 JOHN AND JANE DOES 1-9, et al.,

                 Plaintiffs,

         v.                                                 Civil Action No. 25-0325 (JMC)

 DEPARTMENT OF JUSTICE,

                 Defendant.


 FEDERAL BUREAU OF INVESTIGATION
 AGENTS ASSOCIATION, et al.,

                 Plaintiffs,
                                                            Civil Action No. 25-0328 (JMC)
         v.

 DEPARTMENT OF JUSTICE, et al.,

                 Defendants.


                                               ORDER

       With the consent of the parties, the Court DEFERS RULING on Plaintiffs’ motions for

temporary restraining orders and ORDERS as follows:

       1.      The Government will not disseminate the list at issue in these consolidated cases

(and any subsequent versions of that list, including any record pairing the unique identifiers on the

list to names) to the public, directly or indirectly, before the Court rules on Plaintiffs’ anticipated

motions for a preliminary injunction.

       2.      Absent further order of the Court, the Government may terminate the proscription

set forth in Paragraph 1 at its election by providing two business days’ notice to the parties and the

Court of its intent to terminate.
       Case 1:25-cv-00325-JMC          Document 14        Filed 02/07/25      Page 2 of 2




       3.     The following schedule shall govern Plaintiffs’ anticipated motions for a

preliminary injunction:

              a.      Plaintiffs shall file their motions on or before February 24, 2025;

              b.      Defendants shall file their opposition on or before March 14, 2025; and

              c.      Plaintiffs shall file any replies on or before March 21, 2025.



SO ORDERED:




 February 7, 2025
_______________________                                     ______________________________
Dated                                                       JIA M. COBB
                                                            United States District Judge




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